Case 2:21-cv-14092-AMC Document 11 Entered on FLSD Docket 03/09/2021
                                                                FILED Page
                                                                      BY 1 of 12 D.
                                                                                  C,
                     Atbk iqm ;
                                     United States FederalCourt                                Ml2 28 2221
                                l0l South U.S.Highw ay 1, Room # 1016                            ANGELA E,NOBLE
                                         Ft.Pierce, FL 34950                                    CLERKtl5,DIST CT.
                                                                                              s.o.oFF'uh.-1
                                                                                                          rtFIERCE
           This courthasjurisdiction overthiscase via U.S.Code:Title 28 Section 1338.Patents,plant
           variety protection,copyrights,m askw orks,designs,tradem arks,and unfaircom petition.
           ThiscourthasjurisdictionoverthiscaseviaU.S.Code:Title28 Section 1346.United Statesas
           Defendant.                    .
    111.   Thiscourthasjurisdiction overthiscasevia U.S.Code:Title 28 Section1366.Construction or
           references ofIaw s ofthe United States orActsofCongress.

    IV.    Thi
             scourthasjurisdiction overthiscasesincejacekKazmiercakIivesinIndian RiverCountywhere
'          m ostbutnotal1ofthese crim esw ere com m itted againsthim .Othercounties include Brevard
           County,Florida,Suffolk County,New York,Nassau County,New York and M anhattan County,New
           York.This listofcountiesis notaIIinclusive.

               Jacek Kazm ierczak (Plaintiff)is suing as a disabled Am erican underthe
                                      A m ericans W ith Disabilities A ct.
                                 Jacek Kazm ierczak (Plaintiff)filing Pro se
                                                    Versus
                  FederalBureau of Investigations A gent D onoho and ChristopherW ray,
           DirectorChristopherW ray was senta certified Ietterfrom UPS by m e inJune 2019 with evidence
           oftheftoffundsfrom m y fatherand l.5 years ofnetstatIog filesshow ing theftofm y intellectual
           property via the internet.The F.B.I.Was also notified by me thatthe USB drive with evidence that
           was enclosed by m e mightbe com prom ised with a virus via the F.B.I.U.S.D.O.J.website in
           advance sinceour(m9fatherand1)computerswere hackedandcompromised.
    II.    The certified UPS Ietterwas returned date stam ped 6/19/2019 atthe U.S.D.O.
                                                                                     J.m ailroom m arked
           RTS.
           F.B.I.AgentDonoho who told me in 2015 ''thisiswhatdoctors in Vero Beach doform e''(poison
           people)and they willneverinvestigate my case then kicked me outofhisoffice while people
           outside in the parking lotwere Iaughing thatIm ade them look like idiotson 9/11/2001.
    1V.    The Lawsuitagainstthe F.B.I.forrefusing to investigate theftofm y IP via hacking and theftof
           funds from m y fathervia the W W E W restling w ebsite.BankofAm erica is required by Iaw to cover
           his Iosesthey refused.McAfee is required to coverhis lossesvia the antivirussoftware $100,000
           insurance coverage.They also refused.According to m y fatherhe was in a Hom e Depotchatroom
           w hen his new com puterwashacked.
           June 4,1019.United States:1-866-622-3911.Mcafee Case # 247 674 1448
                                        Reliefsoughtfrom the Court
           Jacek Kazm ierczak isasking forthe prosecution ofChristopherW ray and the F.B.I.forobstruction
           ofjustice.                                     .
           Jacek Kazm ierczak is asking for$911 m illion dollars in damages.
                        State of Florida and G overnorRick Scottand Pam Bondi.
           Pam Bondi's office refused to investigate m y case when Icalled in 2015 afterfiling a com plaint
           w ith RachaelBeam atthe Florida Departm entofHeaIth involving m y m edicalpoisoning via
           dangerouscontraindication.
           Jacek Kazmierczak did notknow Pam Bondiwas responsible forfixing the election thathad
           PresidentBush elected atthe tim e he called the Florida State Attorney'sOffice.
           Iwasfollowed by GovernorScott's m en and a w om anfor2+ m onths and threatened to drop m y
           case in Sarasota in 2016 by one of them .
                                        Reliefsought from the Cb'urt
    111.   Jacek Kazm ierczak isasking forthe prosecution ofSenatorScottforsedition againstthe United
           States ofAm erica.
    IV.    Jacek Kazm ierczak is asking forthe prosecution ofSenatorScottforhaving m e followed and
           ihreatened,
    V.     Jacek Kazm ierczak is asking forthe prosecution ofPam Bondiforsedition againstthe United
           States ofAm erica.     .
           Jacek Kazm ierczak is asking forthe prosecution ofPam Bondifordangerous harassmentalong
           with The Church ofScientology thatincludes attem pted m urder.
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  VlI.    JacekKazmierczakisaskingfortheprosecut.
                                                ionofPam Bondiforobstruction ofjustice.
                                              State ofFlorida.
          The State ofFlorida doctorsforusing dangerous drug contraindication to permanently
          dam age patients.and then bilithe dam ages to M edicare in thq form ofw heelchairs(walkers and
          beds.This qualifiesthe State ofFlorida as an organized crim inalsyndicate inviolatlon ofFederal
          RICO Laws by billing the U.S.A.taxpayersfortheirintentionalm alpractice.
          The State ofFlorida is in violation ofthe RO ME Statute and the Geneva Convention Aoicles 1-IV.
          The United States ofAm erica,G reatBritain and SaudiArabia have technically been atw arsince
          9/11/2001 and aIIparlies are involved in disinform ation aboutthe 9/11/2001 attacks.
          SaudiArabia hasbeen atwarsince9/11/2001using Saudihi
                                                             jackerstoattacktheUnitedStates.
          Technically the United States ofAm qrica,GreatBritain and SaudiArabia are in violation ofthe
          Geneva Convention Articles I-IV and the ROM E Statute.
          Article 7 (l)(e)
          Crim e againsthum anity ofim prisonmentorothersevere deprivation of
          physicalliberty
          Article 7 (l)(f)
          Crim e againsthum anity oftorture 14
          Article 8 (2)(a)(ii)-1
          W arcrim e oftorture
          Article 8 (2)(e)(xi)-2
          W arcrim e ofm edicalorscientisc experim ents
          Article 8 (2)(b)(xxi)
          W arcrim e ofoutrages upon personaldignity
          Article 8 (2)(a)(vii)-2
          W arcrim e ofunlawfulconfinem ent
          Article 8 (2)(a)(vilW arcrim e ofdenying a fairtrial
                                       Reliefsoughtfrom the Coue
          Jacek Kazm ierczak is asking forthe prosecution ofThe State ofFlorida Officials forsedition against'
          the United States ofAm erica.
  VI.     Jacek Kazniierczak is asking forthe prosecution ofThe State ofFlorida Officialsforviolationsof
          The Rom e Statute and Articles I-IV ofthe Geneva Convention.
  VII.    jacek Kazmierczak is asking forthe prosecution ofThe State ofFlorida Officialsforworking with a
          known terroristorganization AlQaeda.
  VlIl.   Jacek Kazm ierczak is asking forthe prosecution ofThe State ofFlorida Om cialsforrunning an
          organized crim inalsyndicate in violation ofFederalRICO Law s.

                                          President Donald J.Trum p.
  1.      Jacek Kazm ierczak asked PresidentTrum p's W hite House forhelp on 4 separate occasions in 2017-
          2018 only to be ignored and my fatherended up with a traumatic brain injury from the sam e
          group ofdoktors thatpoisoned m e and Iied to me.PresidentTrum p also hacked my iphone in
          Decem ber2020.
  II.     Jacek Kazm ierczak made m ultiple poststo the W hite House youtube videos asking Trum p to
          prosecute N.I.S.T.The resulting aitack on Congress lead byTrump showsthe sam e type ofco-
          ordination'and disinform ation thatIead up to 9/11/2001 when Am erica almostIostCongress ifnot
          forthe plane broughtdown in Pennsylvania.
  111.     Jacek Kazm ierczakcalled the W hite House and they hung up over15 tim es refusing to talkto me.
  IV.      Jacek Kazm ierczak has been stalked byTrump persons in Saras6ta in 2016 untilpresent.
                                        Reliefsought from the Court
  V.      Jacek Kazm ièrczak is asking forthe prosecution ofPrejidentDonaldJ.Trump forsedition against
          the United States ofAm erica.
  VI.     '
          Jacek Kazm ierczakisasking forthe prosecution ofPresidentDonald J.Trum p forsedition against
          the United States ofAm erica by possibly being involved with hisfriend Larry Silverstein in the
          destruction ofthe W .
                              T.C.by Thyrm ite on 9/11/2001.
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  Vl.    JacekKazmierczakisasking forthe prosecutionofPresidentDonaldJ.Trumpforseditionagainst
         the United'States ofAm erica by possibly being involved w ith The Carlyle Group in the destruction
         ofthe W .T.C.by Therm ite on 9/11/2001.
  VII.   Jacek Kazm ierczak is asking for$1.5 Billion dollars in damagesforhacking ofhis physicalproperty
          (iphone)and orgapized harassm ent,threats and intim idation.
                             U.S.Departm ent ofJustice and W illiam Barr.
  1.     JacekKazmierczak is filing a criminalcom plaintagainstthe person who signed formy letterto the
         Attorney GeneralW illiam Barratthe D.O.J.with a date stam p of3/18/2019 when Imailed the
         Ietterfrom UPS via certified return receipton 4/13/2019.3/18/2000 isthe traum aticanni
                                                                                              versary of
         my suicide attem ptaftertaking Paxiland trying to stop the 9/11/2001 attacks.
                                      Relief sought from the Court

         JacekKazmierczakisaskingfortheprosecution ofWilliam Barrforobstruction ofjustice.
         Jacek Kazmierczak isasking for$50 m illion dollars in damagesforcausing intentional
         psychologicaltraum a and harm via theirresponse.
                                        Congressm an Bill Posey.

         JacekKazmierczakandAE9/11Truth havebeenwaitingsince5/8/2020tospeakwithGraceReid
         and Congressman Posey aboutthe AE 9/lliTruthTherm ite Report(Therm i   te being used to destroy
         the W .T.C.on 9/11/2001).Jacek Kazm ierczak has called Congressm an Posey's office repeatedly
         and filled outm ultiple requestsforan appointm entvia the w ebsite w ithouta reply.Congressm an
         Posey ' is involved in sedition againstthe United States ofAmerica as shown during the attackon
         January 6thon Congresswhére 147 Sedition Republicans including Congressman Posey entered
         the House Cham berafterthe attack and voted notto certify the election resultsforPresident
         Biden and Vice PresidentHarris.
         Jacek Kazm ierczakcalled Congressman Posey's office in 2015 forhelp and Mitchelanswered and
         said ''Yhe congressm an does nothelp people Iike youz''
                                      Relief sought from the Court

         Jacek Kazm ierczak is asking forthe prosecution ofCongressm an Posey forsedjtion againstthe
         United States ofAm erica.
         JacekKazmierczakisaskingforthe prosecutionofCongressman Poseyforobstruction ofjustice.
                                         Governor Ron D esantis.

         Jacek Kazm ierczak has notified GovernorRon Desantis repeatedly thatThe State ofFlorida doctors
         were usingdangerousdrug contraindicationtopermanentlydamage andinjure patientsunder
         theircare.
         JacekKazm ierczak has notified GovernorRon Desantis ofthe persons informed priorto my
         father's TBI.Then billthe dam agesto Medicare in the form ofw heelchairs,walkers and beds.This
         qualises the State ofFlorida a: an organized crim inalsyndicate in violation of FederalRICO Laws
         by billing the U.S.A.taxpayersfortheirintentionalm alpractice.
                                      Reliefsought from the Court
  111.   Jacek Kazmierczak is asking forthe prosecution ofGovernorRon Desantis forsedi
                                                                                     tion againstthe
         United StatesofAm erica due to negligence in office.
         JacekKazmierczakisaskingfortheprosecution ofGovernorDesantisforobstructiohofjustice.
                                 FederalCom m unications Com m ission:
            AjitPai. Mignon Clyburn,Mike O'rielly,Brendan Carr,Jessica Rosenworcel.
         AIIofthe comm issioners atthe F.C.C.were notified repeatedly by 2/2/2018 and 7/2/2018 about
         the TV portion ofthe attackon m e and the phone callharassm entpriorto m y fàthersTBlon
         12/5/2018.
         The F.C.C.wasalso notified on 4/4/2020 ofongoing harassmentatconsum ercom olaintse fcc.aov.
                                      Relief sought from the Court

  111.   JacekKazmierczakisaskingfortheprosecutionofAjitPaiandtheF.C.C.forobstruction ofjustice.
  IV.    Jacek Kazmierczak isasking for$300 m illion dollars in dam ages.
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                    V.             Jacek Kazm ierczak is asking forthe prosecution ofthe F.C.C.fornotrep6rting thatthe National
                                   Institute ofStandards and Technology isworking w ith a know n foreign terroristorganization AI
                                   qaeda.
I                                                E                                                                                                ,
                                                  nvironm entalProtection Agency and A ndrew W heeler.
    .
                    1.             Notification ofillegalspraying by Indian RiverCounty Mosquito Controlin the FederalNational
                                   W ildlife Refuge w ith video evidence was ignored.Notification to SenatorRubio ofillegalspraying
                                   in Archie CarrNatipnalParkw as also ignored.
                                                                   .                                                                      '
            '
                                                                Relief sought from the Court

                    II.            Jacek Kazmierczak is asking forthe prosecution ofAndrew W heelerand the E.P.A.forviolationsof
                                   FederalLaw and endangering public health and civilrightsviolations.
                    111.           Jacek Kazmierczak is asking for$300 Billion dollarsin damages.
                               '
                                                    H eaIth and H um an Services and Tim othy Noonan.
                    1;             Timothy Noonan wasnotified repeatedly thatThe State ofFlorida doctorswere using dangerous
                                   drugcontraindicationtopermanentlydamage and injure patientsundertheircare priortomy
                                   father'sTBIon 12/5/2018.
                                                                Relief sought from the Court

                    II.            Jacek Kazmierczak isasking forthe prosecution ofTim othy Noonanforparticipating in an
                                   organized crim inalsyndicate.
                    111.           Jacek Kazmierczak.isasking for$100 million dollars in dam ages.                                    v
        '                                                       M ayo Clinic and Dr.Dim berg.
                    1.             Dr.Dim berg atthe Mayo Clinic who refused to issue a m edicalrepoo on the cause ofm y nerve
                .
                                   damage 3 times(VX Nerve Gas).The chem icalform ula forLamictal,Invega and Keflex is the
                                   equivalentofVX Nerve Gas.Exactly equivalent.
                                                                Relief sought from the Court

                    II.            Jacek Kazm ierczak is asking forthe prosecution ofDr.Dimberg forparticipating in an organized
                                   crim inalsyndicate.
                    111. Jacek Kazm ierczak is asking forthe prosecution ofDr.Dimberg forobstruction ofjustice.
                    IV. , Jacek Kazm ierczak is asking for$100 m illion dollars in damages
                                                      FederalDepae m entof HeaIth and Alec Blakely.
                    1.             Alec Blakely w as notised thatThe State ofFlorida doctorsw ere using dangerousdrug
                                   contraindicationtopermanentlydamageand injurepatientsundertheircére priorto myfather's
                                   TBI.                                                                                                       '
        /           II.            AlecBlakelywas 'notifiedofCivilRightsViolationsin mycase.Hisreplywas''there isno probable
                                   basisformy com plaintagainstthe State ofFforida.''                  '
                     '
                                   JacekKazm ierczak vs.State ofFlorida CU-18-301288 filed May 24 2018
                                   JacekKazm ierczak vs.Mayo Clinic CU-18-307686-CP-HIP filed June 15 2018
                                   A CivilRightsViolation againstone Am erican is a CivilRightsViolation against    '
                                   aIlAm ericans.
                                                                Reliefsought from the Court                                                       '
                    111.           Jacek Kazmierczak is asking forthe prosecution ofAlec Blakely forparticipating in an organized
                                   crim inalsyndicate.
                    1V.            Jacek Kazmierczak is asking forthe prosecution ofAlec Blakely forobstruction ofjustice,
                    V.             Jacek Kazmierczak is asking for$100 million dollars in dam ages.
                                          Florida Bar and W illiam W ilhelm and Annem arie Craft,Bar Counsel.
                    1.             Law suitagainstthe Florida Barforwithholding access to attorneys,refusing to prosecute and sue
                                   doctors invol
                                               ved in hurting patients,appointing persons Iike Pam Bondiw ho coverup m edical
                                   terrori
                                         sm .
                                   Annem arie Craft,BarCounsel
                           '       651 EastJe/erson Street
                                   Tallahassee,FL 32399-2300
                                   Re:Pam elaJo Bondi;RFA No.21-5153
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          M r.W illiam W ilhelm
          651 EastJefferson Street
          Tallapassee,FL32399-2300
          Re:Andrew Buren M etcalfe;RFA No.21-5152
                                       Reliefsoughtfrom the Court

          JacekKaimierczakisasking fortheprosecutionofThe Florida Barforobstruction ofjusticeand
          failure to prosecutewhile civiliansareintentionally being injuredbymedicalpersonnel.
          Jacek Kazmierczakisasking fortheprosecutionofWilliam W ilhelm forobstructionofjustice.
          Jacek Kazmierczakisasking fortheprosecutionofAnnemarieCraftforobstructionofjustice.
          Jacek Kazm ierczak is asking for$1 Billion Dollars in dam ages.
                        Indian Rivercoùnty,Indian RiverCounty Moshuito Control.
          These people have been involved in collectively stalking ahd spraying rne as docum ented with
          videos along w ith Floridascapes and Stark and otherpesticide com panies.
                                       Relief sought from the Court
          Jacek Kagmierczak is asking forthe prosecution ofIndian RiverCounty and Indian RiverCounty
          Mosquito ControlforviolationsdfFederalLaw andendangering publichealth and civilrights
          violations.
          JacekKazmierczak isaskingfortheprosecution ofIndian RiverCounty andIndian RiverCounty
          M osquito Controlforillegally spraying in Nationalparksand FederalNationalW ildlife Refuge
          Iocations.
  IV.     Jacek Kazmierczak isasking forthe prosecution ofIndian RiverCounty forattem pted m urderand
          participating irlan organized crim inalsyndicate.             '
  V.      JacekKazmierczakisaskingfor$50 million indamages.
  32963 New spaper,The Indian RiverPressJournal,New York Tim es,W ashington Tim es,
  Atlanta JournalConstitution,M innesota StarTribune,Seattle Tim es,Bufalo New s,LA Tim es,
  USA Todaw Chicago Suntim es,Chicago Tribune,O rlando Sentinel,Boston Herald,The Boston
  G lobe.
  1.      AIIofthese news m edia outletsw ere notised ofthe the dangerto public health via dangerous
          drug contraindication and are involved in censorship and failing to protectpublic health.
          AlIofthese news m edia outletsw ere notified ofthe TV portion ofthe attack in m y attem pted
          m urder.
  II.     On Apr8r2020 the W ashingtop Postputa video on youyube claiming to be an interview with
          Queen Ellzabeth aboutCoronavirus.Itwas actually a video ofthe bridge in London with persons
          laughing.
          Probably a reference from British Intelinvolved in the 9/11/2001 attackswith disinformation from
          the BBC aboutW . T.C.Building 7 collapsing 20 m inutes before it's dem olition and how funny they
          thinkmysuicide attemptin March 2000waswhenlalmostjumped of'fabridge in HamptonBays,
          New York.Afterfiguring outthe date,Iocation and method ofthe 9/11 attack and emailing itto
          Governorlesse Ventura in Minnesota.In hindsightnexttim e lwillemailthe Governors in alI50
          states so denialw illnotbe an option.
                                       Reliefsought from the court
          Jacek Kazmierczak is asking forthe prosecution ofthe 32963 newspaperforcensorship.
          jacek Kazmierczak is asking forthe prosecution ofThe Indian RiverPressJournalnewspaperfor
          censorship.                                                   '.
  V.      Jacek Kazmierczak isasking forthe prosecution ofthe New YorkTimesnewspaperforcensorship.
  VI.     Jacek Kazmierczak isasking forti-ie prosecution ofthe Washington Tim es newspaperfor
          censorship and harassm ent causing em otionalharm .
  VIl.    Jacek Kazmierczak isasking forthe prosecution ofthe Atlanta Press Constitution newspaperfor
          censorship.                                               '
  VlII. Jacek Kazmierczak isasking forthe prosecution ofthe Minnesota Tribune newspaperfor
          censorship.
  IX.     Jacek Kazmierczakisasking forthe prosecution ofthe Seattle Times newspaperforcensorship.
  X.      Jacek Kazm ierczakisasking forthe prosecution ofthe Buffalo News newspaperforcensorship.
  XI.     Jacek Kazm ierczakis asking forthe prosecution ofthe LA Tim es newspaperforcensorship. .
  XII.    Jacek Kazm iercz4kis asking forthe prosecution ofthe USA Today newspaperforcensorship.
  XIII.   Jacek Kazm ierczak is asking forthe prosecution ofthe Suntim es newspaperforcensorship.
  XIV.    Jacek Kazm ierczak is asking forthe prosecution ofthe ChicagoTribune newspaperforcensorship.
  XV.     Jacek Kazm ierczak is asking forthe prosecution ofthe Orlando Sentinelnewspaperforcensorship,
  XVI.    Jacek Kazm ierczak is asking forthe prosecution ofthe Boston Herald newspaperforcensorship.
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  XVl1. Jacek Kazm ierczak isasking forthe prosecution ofthe Globe newspaperforcensorship.
  XVIII. Jacek Kazm ierczak isasking forthe prosecution oftheses newspapers forfaiiing to inform the
           public ofim m inentdangers to public health'via dangerous drug contraindication.
  XIX. Jacek Kazm ierczak is asking forthe prosecution oftheses newspapers fornotreporting thatthe
           NationalInstitute ofStandards and Technology isw orking with a know n foreign terrorist
           organizationAIQaeda.
         Indian.RiverCounty Sheriff's Depae m ent,Deputy Richard Atkinson,Deputy A lbandian

           Failure orrefusalto investigate attem pted m urder,torture,crim inalm edicalm alpractice.
           Failure orrefusalto investigate stolen orIostproperty.
           Obstruction ofjustice.
           Police brutality w here m y hands were cuffed in the backofa IRC Sheriff's carand rope wastied
           around m y ankles and pulled outthe carw indow asthey thrqatened to tie the rope around the car
           tire and rip m y legs of'fas they drove away.
  V.       Filqd a detailed reportw ith Deputy Albandian 2 m onths ago only to getan insulting voice m ail
           from an unknow n detective and a Sheriffshow ing up to bully m e atm y house telling m e they are
           notgoing to investigate this.
  Vl,      Filed a reportwith Deputy Richard Atkinson atthe Sheriff'sDepartm ent.Report#2017-105106
           W hen Itold him aboutm y poisoning by doctors in Vero Beach and asked him w hy no one in Vero
           Beach w as arrested he said:'Now you have youranswen''''You are one ofthose crazy conspiracy
           guys w ho thinks people are afteryou''
                                        Relief sought from the Court
           Jacek Kazmierczak is asking forthe prosecution ofthe IRC Sheriff's Departmentforobstruction of
           justice and participating in an organized crim inalsyndicate.
  VIII.    Jacek Kazmierczak is asking forthe prosecution ofthe IRC Sherifï's Departmentforpolice brutality.
  IX.      Jacek Kazmierczak isasking for$100 million dollars in dam ages.
                            M ckinnon & Ham ilton PLLC.Charles W .M ckinnon
  1.       Participating in m y attem pted m urderand poisoning by CharlesW .M ckinnon.
           Sending a threatIetteron 11/4/2020 afterIinform ed the ownerofFloridascapes thatthey were
           illegally spraying m e daily during COVIDl9 Iock down w ith dangerous Roundup.The ow nercalled
           the Sheri  ffon m e and tried to have me prrested.
           W alteratthe Pennwood Motelused the sam e scenario w hen they keptspraying m y hoteldoorand
           Iooking into m y hotelw indow.W hen Iasked them to stop spraying they called the Sherif'
                                                                                                  fand they
           arrested m e.                                                   .             .
  111,     Participating in m y attem pted m urderand poisoning ofm y fatherby coppersulfate by CharlesW .
           Mckinnon.             '
  IV.      Sending threatIetteron 05/20/2019 afterIcalled the Sheril's departmenton AquaticSystem s
           and tried to perform a citizens arrestexplaining to the deputy thatthe coppersulfate they were
           using w as poisoning m y fam ily.The Sherifftold m e ifItouch him he willarrestm e and to file a
           lawsuitagainstthe H.O.A.ltold the Sheriffhe needsto stop being brainw ashed by inaccurate
           inform ation.                                             -

                                        Relief sought from the Court

           Jacek Kazm ierczak is asking forthe prosecution ofCharlesW .Mckinnon forparticipation in an
           organized crim inalsyndicate.
  VI.      Jacek Kazm ierczak is asking forthe prosecution ofCharlesW .Mckinnon forIegal
           m isrepresentation and perversion ofthe law.
  VII. Jacek Kazm ierczak is asking forthe prosecution ofCharlesW .Mckinnon forharassm ent.
  VIII. jacekKazmierczakisasking forthe prosecutionofCharlesW.Mckinnon forperjury.
  IX. Jacek Kazm ierczak is asking for$50 r'nillion in dam ages.
    Floridascapes Lawn & Landscape,OId Orchid HOA,OId Orchid Residents,Tom Maherand Ed
  Uttridge,M lchaelPaschetti,AlbertZolezzi,Richard Gripenberg,Evelyn Kopke-Gripenberg,Jim
          and Jillfrom Rochester NY (Iast nam es unknown)who rented here,Chris Avery
  1.       Notised Tom Maher(9550 W estMaiden Ct.U.S.NAW Retired)4/5/2019 by emailand in
           conversation aboutthe dangers ofusing CopperSulfate in ourIake as docum ented by the USGS
           CopperSulfate Reportform 1999 only to receive a threatIetterfrom theirIaw firm .Dangers
           include W ilson'sDisease in children (m entioned in my MayoElinic MedicalAffidavit)and dam age
           to hum an skin,lungs,liver,cornea and CNS.M yfather's Ieg infectionsw ere caused by exposure
           to the CopperSulfate from the OId Orchid sprinklersystem .
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           Chris Avery 9715 W estMaiden Ctfrom the AirForce who was outside ourhouse on 3/6/2014 when
           lwasalm ostkilled.They w ere celebrating and cheering the day llostthe ability to walkyelling
           ''Oh m y God itw orked!!!!Itw orked!!!''
           MichaelPaschette 9675 W estMaiden Ctforillegally spying on me.Alber  'tZolezziay9655 W est
           Maiden Ctfrom N,YRD m ightalso be invol  ved.                                   t
           Richard G ripenberg and Evelyn Kopke-G ripenberg'at9645 EastMaiden Court.She does research
           forthe pharm aceuticalindustry and spentm onths harassing us in 2014.
           Jim and Jillfrom RochesterNY (Iastnames unknown)who rented here.Jim tam pered with
           Cynthia Griffin's carand assaulted herin ourhom e at9655 EastMaiden Ct.in 2D1l.
  V.       Floridascapes has been illegally spraying in frontofourhom e daily with Roundup (which Iasts 30
           days)before,during and afterCOVIDl9 Iock down and smiling and Iaughing aboutdoing it.
           Roundup causes non-hodgkins I  ym phom a and m akes itdifficultto breathe.
           Floridascapeshas been ignoring ourproperty in essence stealing m oney from m y parents w ho pay
           HOA fees w hich include landscaping.They have aiso been Ieaving trim m ings in the yard for
           weeks.Pointing the blow erexhaustnearthe AC system and open w indows and doors.
                                        Relief sought from the Court

           Jacek Kazmierczak is asking forthe prosecution ofFloridascapesforattempted m urderand
           harassm ent.
  VIII. Jacek Kazmierczak is asking forthe prosecution ofFloridascapesforbeing partofan organized
           crim inalsyndicate.
  IX.      JacekKazmierczakisaskingfor$3 milliondollarsin damagesfrom Floridascapes.
  X.       Jacek Kazmierczak isasking forthe prosecution ofOId Orchid HOA forattem pted murderand
           harassm ent.
  XI.      Jacek Kazmierczak i
                             s asking forthe prosecution ofOId Orchid residentsforbeing par'tofan
           organized crim inalsyndicate.
  XII.    '
          JacekKazmierczak isaskingfor$3 million dollarsin damajesfrom OIdOrchid.
         TV Industry N BC,A BC,CBS,CNN ,M SN BC,Fox,Fox New s and com m ercialadvertisers.

  1.       ''DigitalBio W eapon being used in Florida (Crime AgainstHumanity),On 3/6/2014.while the NBC
           Today show broadcasts a woman in a wheelchairperforming to m usic (who was paralyzed after
           taking an antibiotic),Iwaswatching atmy hom e at9655 EastMaiden Courtwhen the TV and
           electricalsystem w ere hitw ith som e kind ofelectricalsurge and the Lam ictal,Invega and Ketlex
           m ixed into VX Nerve G as and dam aged m y nerves.lIostthe ability to walk and m y Iegs could not
           supportm y body weight.The TV and cable box w ere dam aged.
  II.      These RockedellerCenterTV News agencies are also responsible forcensoring AE 9/11Truth and
           the destruction ofthe W orld Trade Centerby Therm ite by the F.D.N.Y,N.Y.PortAuthority,U.S.Air
           Force in Florida including Tam pa and M elbourne,F.A.A.,Larry Silverstein,PresidentTrum p,M ayor
           Guilianiand Vice PresidentCheney and PresidentBush Intelagencies.
                                        Reliefsought from the Court

           Jacek Kazm ierczak is asking for$3 billion dollars in dam ages.
           Jacek Kazm ierczak is asking forthe prosecution oftheses TV news agenciesfornotreporting that
           the NationalInstitute ofStandards and Technology is working w ith a known foreign terrorist
            organization AlQaeda.
           Jacek Kazm ierczak is asking forthe prosecution ofNBC forattem pted m urderand torture.
                                           Church of Scientology.
           Harassm entby the Church ofScientology and Ron Sm ith since 2018 w hen he called m e and lefta
           m essage forBlanca Ram os asking form y socialsecurity num berand otherpersonalinform ation.I
           have had over3 yearsofharassm enttextsforBlanca Ram os aftercalling him in 2018 and
           w arning him to stop.Dr.Ram osw as one ofthe doctors involved in m y attem pted m urderw ith the
           VX Nerve Gas (Lamictal/lnvega/Keflex).
                                        Relief sought from the Court

           JacekKazmierczak is asking forthe prosecution ofThe Church ofScientology forattem pted
           murder,harassm entand conspiracy to aid and abeta crimlnalsyndicate.
           JacekKazmierczak is asking for$214 Billion dollarsin damages.
                                               Goldm an Sachs.
           Goldm an Sachs is involved in m assiye financialfraud and m isrepresentation.
           This M arcus Fund CD offerwas extended to m y fam ily during a tim e ofhigh stress and duress
           when m y fathersuffered hisTBIfrom dangerous drug contraindication.
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             Here is section 5 ofthe M arcus Fund Agreem ent.
         ,   Highly suspectarea is in bold italicized text:   .      .

             5.TypesofAccounts:W e offerO nline SavingsAccounts and CD Accounts.
             a.Online Savings Account- ThisAccountallowsyou to m ake deposits by check,Autom ated
             Clearing House transfer('ACH Transfer''),wire transfer,ortransferfrom anotherAccountatthe
             Bank.Lim its apply to certain types oftransfers from yourAccount.Online SavingsAccounts are
             subjecttovariousotherprovisionsinthisAgreement,including section.'111.OnlineSavings
             Accounts;Truth In Savings Disclosure.''
             b.CD Account- -rhisAccountallows you to m ake depositsofprincipalby check,ACH Transfer,
             wire transfer,ortransferfrom anotherAccountatthe Bank.A CD Accountm ay be öpened for
             various specified tim e periods,or'term s,''w hich end on a m aturity date.Early w ithdraw als of
             principalpriorto the m aturity date are restricted,butrestrictionsforw ithdrawalà differforNo-
             Penalty CDs.See subsection
             ''IV.7.EarlyWithdrawalPenalty''formore information.CD Accountsare subjecttovariousother
             provisions in this Agreement,including section ''IV.Certificates ofDepositAccounts;Truth In
             Savings Disclosure.''
             G e w illnotprovide you with any evidence ofA ccountownership,such as a passbook
             or cee /fcat' e.
             Goldm an Sachsw as the underwriterforthe Malaysian IM DB Fund.
             In 2012 and 2013 the M alaysian IMDB Fund received substantialfinancialinvestm entaftersitting
             dorm antforseveralyears.Dr.Ram os arrived from N.    Y and stal -ted treating m e in 2012.
             Dr.Ram osw ho was one ofthe principles in m y poisoning case m ay have been a foreign operative
             working atthe University ofFlorida.
  lV.        The State ofFlorida ow nsthe University ofFlorida and isdirectly responsible
             and liable foraIIofthe persons they hireto w ork asem ployees.
                                             Reliefsought from the Court
  V.         Jacek Kazm ierczak isasking forthe prosecution ofGoldman Saéhsforfinancialfraud.
  Vl.        JacekKazmierczakisaskingfor$3.3 Billiondollarsindamages.
                           M argaret Libbew Kim Jones and VanDevoorde HallLaw.
  1,         MargaretLibbeyhasrepeatedlyobstructedjustice by notresponding tocalls,emailsortexts
             asking herto sue these doctors priorto m yfathersTBIfrom the sam e group ofdoctors thatlied to
             m e.                        '
  II.        Kim Jonesis herIegalaid counselinvolved in obstruction.
  111.       VanDevoorde HallLaw illegally withdrew over$2000from my accountwithoutmy permission on
             the anpiversary ofmy bestfriend'sJohn Okula's death on 1/24/2020.
                                             Reliefsoughtfrom the Court
  lV,        JacekKazmierczakisasking fortheprosecutionofMargaretLibbeyforobstruction ofjustice.
  V.         JacekKazmierczakisasking fortheprosecutionofKim Jonesforobstruction ofjustice.
  VI.        Jacek Kazmierczak is asking forthe prosecution ofMargaretLibbey forparticipating in an
             organized crim inalsyndicate.
  VIl.
  '
             JacekKazmierczakisasking.fortheprosecution ofKim Jonesforparticipating in anorganized
             crim inalsyndicate.             .
  VIII. JacekKazmierczak isaskingfortheprosecution ofVanDevoordeHallLaw Law forparticipating in
             an organized criminalsyndicate.
  IX.        JacekKazmierczak isaskingfor$10 million indamages.
                                                 lst Fire & Security
             In the sum m erof2018 w hile working outin the O ld Orchid gym a lstFire & Security technician
             told m e ''no one is going to callyou and no one'iscom ing to see you.''
  II.        lstFire & Security are using illegalsurveillance to have m e stalked aIloverIndian RiverCounty
             and to stealm y intellectualproper  -ty.
                                             Relief sought from the Court
  111.       Jacek Kazm ierczak is asking forthe prosecution of1stFire & Security forattem pted m urder and
             harassm ent,civilrightsviolations,privacy violationsand dehum anization techniques.
  IV.        Jacek Kazm ierczak is asking forthe prosecution of1stFire & Security forillegalsurveillance
             causing extrem e duress.
  V.         Jacek Kazmierczak is asking forthe prosecution oflstFire & Security forparticipating in an
             organized crim inalsyndicate.        .
  VI.        Jacek Kazm ierczak is asking forthe $968 million doflars în damages.
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  Dr.Ramos,Dr.Benjam in,Dr.Coppola,Dr.Linds
                                          'ay N.Shroyer,Dr.Kalish,Christine Ross,Dr.
  M ossy Dr.Taher Husainy, Dr.Yergen, Dr. BasilKeller, Dr.H uszar, Frank at U F, Dr.Creelm an, Dr.
  Potts at Quality HeaIth Care
  1.     AlIofthese doctors actively participated in m y attem pted m urderand poisoning.
         Christine Ross prescribed clotrim azole betam ethasone forpeniscancercaused by excessive iron
         buildup in m y internalorgansfrom the Lam ictal/lnvega severe allergic reaction thatpulled iron
         from m y dietoutofthe blood stream and across the blood brain barrierand deposited the iron in
         the globus palladus and internalorgansw hich putm e into a state ofshockand affected m y m otor
  lI.    Dr.Ram os told m e he w ould coordinate m y care w ith the otherdoctors.Igave him the nam es of
         the otherdoctors Iw as seeing and they aIIsaid they neverheard from him .
         Dr.Creelm an told m y fiancee Cynthia Griffin to add iron to m y dietIike spinach.ltisagainst
         m edicalethics Iaws form y fiancee'sdoctorto give heradvice on how Ishould be treated.
  IV.    Dr.Kalish prescribed the Keflex thatalm ostkilled m e.W hen Ireturned to hisoffice w ith nerve
         dam age he told the nurse to Ieave the room and then started babbling incoherently.
  V.     Dr.Potts physically assaulted me in hisoffice afterIwas sprayed with an aerosolized neurotoxin at
         Wabasso Beach on 3/1/2017 and 3/3/2017 (the anniversary ofthe formation ofN.I.S.T.)that
         caused m y hands to go num b and lose feeling forover3 m onths.Istillhave perm anentdam age
         to m y hands and Iossoffeeling on the back side ofm y hands.
  VI.    Dr.Moss keptchanging drug Ievelsw hen Iwas obviously being poisoned.
  VlI. ' Dr. Hussainy asa neurologistknow sw hatcauses nerve dam age and refused to tellm e.
  VIII. Dr.Huszaras a neurologistknow sw hatcaused nerve dam age and refused to tellm e.You do not
         getto leave m edicalschoolas a neurologistw ithoutknow ing. '
         Dr.Shroyerprescribed opiod addictive pain drugsin an attem ptto killm e by overdose.Idid not
         take them .
  X.     Dr.Yergen refused to tellm e w hatcaused m y nerve dam age.
  XI.    Dr.BasilKellerrefused to tellm e w hatcaused m y nerve dam age and is friendsw ith Dr.Huszar.
  XII. The resultofthe poisoning w ere daily shaking episodes sim ilarto epileptic 5ts,severe dizziness
         and nausea w hen Iaying dow n,herniated disksand a tearin the lining ofm y spinalcord,inability
         to sitdown forover2 years,inability to walkforover2 years,nerve damage in arm jand Iegs,
         neckfeeling Iike itwas going to break when laying dow n,Iegs feeling Iike they w ere on fire from
         the inside for8 + m onths,inability to turn m y neck forover5 years,penis cancer.Docum ented in
         m y m edicalaffidavitto the M ayo Clinic.
                                      Relief sought from the Court

  XIII. Jacek'Kazm ierczak is asking forthe prosecution ofthese doctorsforattem pted m urder,torture,
         illegalm edicalexperim entation in violation ofthe RO ME Statute'and forviolation ofthe Geneva
         Convention Articles I-lV.
  XI
   V.    JacekKazmierczakisasking for$777 million dollarsin damages.
                               RachaelBeam Florida Depae m ent of HeaIth.
         RachaelBeam refuded to investigate my attempted murder/torture case afterIsenthermy
         m edicalaffidavitin March 2015.                                 .
         Rachael(notsure ifthisisthe sam e person)showed up in Sarasota in 2016 with Zac..Rachaelsaid
         she w orked forthe pharm aceuticalindustry and m ade people feelbetter.Then they tam pered
         with m y 2008 Saturn,took of'fand deleted the evidence ofthe tam pering to the carfrom m y ipad
         thatwas sentto me by the dealeraoerIhad the cartowed to SunsetChevy/Ford.
                                      Reliefsought from the Court

         Jacek Kazmierczak is asking forthe prosecution ofRachaelBeam forparticipating in obstruction of
         justiceand refusingtoinvestigatemedicaldeception,criminalactivity,torture and attempted
         m urder.
  I
  V.     Jacek Kazmierczak is asking forthe prosecution ofRachaelBeam forparticipating in an organized
         crim inalsyndicate.
  V.     Jacek Kazmierczak is asking for$777 m illion dollars in dam ages.
                            A rlene Sm ilov University pf Florida Physicians.
         Arlene Sm ilov and George atUniversity ofFlorida Physicians denied m e a non-binding
         arbitration m eeting (2015)in violation ofthe University ofFlorida contractwhich states patients
         are entitled to a non-binding arbitration m eeting ifthey requestit.By usurping the courtsystem
         and requiring patients to contactthe University of Florida Physicians first before they can go to
         courttheyare infactcreating apseudo-courtsystem intieState ofFlorida.
         W arcrim e ofdenying a fairtrial.14th Am endm ent.
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          The State ofFlorida isviolating the 14tbAm endm entSection ''norshallany State deprive any
          person ofIife''via drug pushing againstaIIknown scientificfacts to the contrary.
                                       Relief sought from the Court

  111.    Jacek Kazm ierczak is asking forthe prosecution ofArlene Sm ilov forpar-
                                                                                 ticipating in obstruction of
          justice andrefusing to investigate medicaldeception,criminalactivity,tortureandattempted
          m urder.
  IV.     Jacek Kazm ierczak is asking forthe prosecution ofArlene Sm ilov forpar-
                                                                                 ticipating in an organized
          crim inalsyndicate.                                                         '
          Jacek Kazm ierczak is asking for$777 m illion dollars in damages.
    Verizon,Boost M obile,M etro PCS M etro,Com castCorporation,Tim e W arnerCable,Charter
                                     Com m unications,J&L Consulting
  1.      Verizon refused to issue a refund on my iPhone(20l6)which was notworking properly for8+
  lI.     Verizon refused to tellm e w ho hacked m y iphone and told m e lwould need a subppena.
  111.    Sam sung CellPhone from Verizon purchased by Cynthia Griffin and given to m e to use.
          Phone Num ber:772-XXX-XXXX
          Prepaid for3 montis.
          1.Stopped wprking after30 days.Verizon refused to turn phone backon orgive any creditw hen I
          asked them in Sarasota.                    .
          2.Box issigned by Verizon em ployee w ith receiptthatthe phone was prepaidfor90 days.
          Verizon Rep:miI
                        ja25-EOLJW
          Date:6/14/2016
          3.Filed a reportw ith Deputy Richard Atkinson atthe Sheriff's Departm ent.Report#2017-105106
          W hen Itold him aboutmy poisoning by doctors inVero Beach and asked him why no one in Vero
          Bepch was arrested he said:'Now you have youranswen''''You are one ofthose crazy conspiracy
          guysw ho thinks people are afteryou''
  IV.     BoostM obile Phone purchased in Bradenton,Florida
          Phone Num ber:94I-XXX-XXXX
          1.Hacked so severely itstopped w orking
          2.Phone containsvideo ofphone num bercalling m e atourIand Iine atXXX XX XXXXXXXX in Vero
          Beach from Pennsylvania.The num berw asfrom the tow n where they m oved the Turkish terrorist
          broughtto the USA by the m ilitary guy spying forthe Russians.No idea w hy Ireceived thiscall
          otherthan reading an article on the internetabouthim w hen the phone rang.
          3,Phone stops working and getszapped by som e battery/antenna failure signal.Istillhave itas
          evidence.
          4.Phone hasvideo ofupdate software being installed from differentcarrier.
          BoostM obile turned offm y second BoostMobile phone w ithoutreason resulting in m e going to the
          boostMobilestore in Vero Beachto5ndoutwhywhenIshould nothave beenthere.Thisresulted
          in an altercation with a strangerfrom FortPierce in the store thataggressively called m e ''a
          fucking prick''overand over again.
          This altercation nçvershould have happened since lshould neverhave been atthe store in the
          firstplace since m y phone w as boughtand fully paid forw ith autopay setup m onthly.
          Metropcs w as charging m e additionalm onthly fees to filterspam from texts and Iwas still
          receiving spam from the Church ofScientology and othèrunknown numbersthatdo notexist.
  VI.     Tim e W arnerCable and CharterCom m unications ow ned the cable Iinesfrom the origin ofthe TV
          signalin New York thatalm ostkilled m e.
  VII.    J&LConsulting wasthe Com castsubcontractorthatparticipated in my attempted m urderby
          installing som ething between the F.P.L.powerbox and cable box outside 9655 East Maiden Ct.
          thatdam aged ourTV and cable box on the day theVX Nerve gas (Lamictal/lnvega/Keflex)was
          m ixed in m y body.3/6/2014.The TV show with the woman paralyzed atertaking an antibiotic was
          broadcaston 3/6/2014.                                      '
  VIII.   The antibiotic Keflex was prescribed by Dr.Kalish on 3/3/2014 (March 3 being the anniversary of
          the formation ofN.I.S.T.)
   IX.    J&LConsulting installed som ething in frontofourhouse a few days before 3/6/2014.
                                       Relief sought from the Court

  X.      Jacek Kazmierczak is asking forthe prosecution ofthese companiesforinterfering with
          com m unications,aiding and abetting attem pted m urder,attem pted m urder,illegally accessing
          private property.
  XI.     Jacek Kazmierczak isasking for$5 Billion dollars in dam ages.
                                                    Google
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           Intellectualproperty theftby G6ogle youtube.
           Google removed the 1080p/720p num bersfrom aIIYoutube videos(approx.2016)the day after
           my Facebook postand anal  ysis ofthe possible nefarious use ofthese num bers againsta
           generation ofinternetaddicts in another9/11 style attack.Possibly causing m assive trauma to the
           generation born after9/11/2001.
           Forexam ple attacking onJuly 20tbat1:O8PM rightbefore kidsgethom e from schooland start
           w atching youtube videos.
   111.    FilteringofGoogle newsstoriesthatlwasinterested inIikethearrestofDr.Benjaminsothey
           w ould notappearin m y Google news feed.
  IV.      Insulted by Google technicalsupportw hen asking forhelp w ith these issues.
  V.       Harassm entby Google in m y gm ailaccountwith no ability to m odify signature in gm ailregardless
           ofem ailsignature Iength.
   VI.     Harassm entby Google in m y gm ailaccountby sending friendsem ailj into the trash.
   VIl.    Harassm entby G oogle in m y gm ailaccountby sending topics ofinterestIsign up forinto the
           spam folderIike the new Purism Liberem phone.This phone is a com petitorto Google phone
           devices.                                                                h
                                        Reliefsought from the Court

   VIll.   Jacek Kazm ierczak is asking for$400 m illion dollarsforintellectualproperty theft.
   IX.     Jacek Kazm ierczak is asking for$40 m illion dollars forharassment.
                                                    Youtube
   1.      Com m enton firstyoutube video Ieverposted wa4''you are gay and you should killyourself''circa
           2005 w hen Iarrived in Florida.             '
   II.     Constantinstantspam postingsto new videos Iupload.
   111.    Harassm entby Trum p neo-nazis:
   IV.     Problem s uploading videosvia hacking.Unsure ifthis isyoutube orsom eone else.Looks Iike
           youtube.
                                        Reliefsoughtfrom the Court

           Jacek Kazm ierczak is asking for$5 Million dollars in damages.
                                                   M icrosoft
           Failurq to provide adequate antivirus protection on brand new W indows 10 HP com puter.
           Failure to provide adequate security protection on brand new W indows 10 HP com puter.
           Scam M icrosoftTechnicalSupportphone calls.
           Participating and profiteering from th'
                                                 e illegalwarin Iraq underPresidentBush.
                                        Reliefsoughtfrom the Court
   Ibk?.   JacekKazm ierczak is asking for$5 Billion dollars in dam ages.
                        Mcafee,Bank ofAm erica,Hom e Depot,Norton Antivirus.
   1.      Partoflaw suitagainstF.B.I.forrefusing to investigate theftofm y IPvia hacking and theftoffunds
           from m y fathervia W .W .E.W restling w ebsite.
   II.     Bank ofAm erica is required by Iaw to coverhis Iosses they refused.
   111.    McAfee isrequired to coverhis losses via the antivirussoftware $100,000 insurance coverage.
           They also refused
           Spoke withAleja on 7/12/2018 regardingthiscase.
           June 4,2019
           United States:1-866-622-3911
           Mcafee Case # 247 674 1448
   I
   V.      Mqafee would notcreditorcoverthe Iosseseven thoughtthey arerequiredtovia hi>insurance
           coverage.                                                                             .
   V.      The BankofAmericarepresentativewould notrefundorcredittieIossestomyfather'saccount
           even though they are.required to.
   Vl.     The pup spyware was lefton the PC afterlhad paid $90 to have itfixed and cleaned atthe
           Sebastian com puterstore.Please add this to the Iistofhacksagainstm y fam ily.
   VII.    1.5 yearsofevidence was provided to the directorofthe F.B.I.ChristopherW ray with evidence of
           m y IP theftand financialtheftfrom m y fatherand returned m arked RTS.According to m y fatherhe
           was in a Hom e Depot chat room asking questions w hen som ething happened to his com puter.The
           hackerwastelling m y fatherhe was paying forsecurity every tw o w eeksw hile Dr.Huszarwas
           heavily drugging him .Taking crim inaladvantage ofthe elderly.The hackerturned offM cafee and
           installed NortonAv on m y father's HP computer.This wasa new HP PC Iboughtforhim in
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          Sarasota,drove overto Vero Beach to setup and disconnected his oId PC because he called m e in
          Sarasota and Irealized he had been hacked.Then Idrove backthe nextday to Sarasota w here l
          was volunteering atthe MOTE Aquariam in 2016.
  VIII.' McaFee fraudulently billed my motherfor$99 which she reported to VISA.
                                        Relief sought from the Coue

   IX.    Jacek Kazm ierczak is asking for$3 million dollarsin damages.
                                                    Apple.
          Originalfirstiphone Iow ned from Verizon w as hacked and voice m ailsw ere deleted w hile Iw as
          Iooking forw ork and a place to Iive in 2015-2016.
   II.    ipad from Verizon wasalso hacked and intelleciualproperty stolen.Iwas kicked outofthe Disney
          Vero Beach Hotelforasking the people atthe barw hy they w ere talking aboutm y private
          intellectualproperty.  -
          Landscapers run towards the fences atDisney and startspraying me when they see m e.
   111.   2007 Macbook Pro m otherboard burned outin February 2011 afterIIooked forOsam a Bin Laden's
          house in Pakistan on Google Maps,Iwentto the world'sIargestcross inJordan on Google m aps
          and bounced offChristto find the Anti-christin Pakistan.Ithink itworked.:-).100+ days later
          NAW SEALTeam 6 and M aya killed him .
   IV.    Oq May 1,2011 Iwas dreaming aboutBin Laden being shotwith a view in my dream through
          nightvision Ienses.Itold m y fiance Cynthia G riffin w hen Iwoke up.A few hours laterPresident
          Obam a announced they killed Bin Laden.W hen Cynthia Griffin told m e Idid the sam e thing Maya
          did atthe end ofZero Dark Thirty.Iputm y hands overm y face and started crying.
  V.      AdsforjointheC.I.A.started appearing in my Googleadsonline.Ido notthinkthe C.I.A.actually
          advertises on Google ads.
  Vl.     The sam e Macbook Pro had m otherboards burn out2 m ore tim es.
  VlI.    Apple Casef :
          # 100916373433 Gold iphone callerID changed to M onte Dunbar
          # 101243268656 Black iphone hacked by Republican Party 4nd Church ofScientology and
          PresidentTrum p

                                        Relief sought from the Coue
  VlI1. Jacek Kazmierczak is asking for$300 million dollars in dam ages.
                                   CV S Pharm pcy,W algreens Pharm acy.
   1.     Responsible forfilling dangerous contraindication prescriptionsw ithoutw arning consum ers.
          Drug pushing ofhighly dangerous chem icalsthatdam age the hum an CNS,internalorgans,Ii      ver,
          brain,circulatory system ,nerves,dam aging second m icrobiom e affecting hum an m icrobiom e and
          m am m alian DNA.
                                        Reliefsought from the Court

   II.    Jacek Kazmierczak isasking forthe courtto issue warningson aIIpsychiatric drugsthatthey are
          notto be taken forqnore than 3 m onths due to perm anentdamage to the human CNS wi
                                                                                           th
          instructionsand dirl
                             ectionsto the Mayo Clinic PRC to help patients getoffofdrugs.
   111.   Jacek Kazmierczak isasking forthe courtto issue warnings ataIIpsychiatric offices thatthese
          drugsare notto be taken form ore than 3 m onthsdue to perm anentdam age to the hum an CNS
          w ith instructions and directionsto the M ayo Clinic PRC to help patients getof'fofdrugs.
   IV.    Jacek Kazmierczak is asking for$500 million dollars in damages.
                                             G laxo-sm ith-Kline.
   1.     Responsibleformaking Paxilwlichresulted in m-e tryingto stopthe9/11/2001 attacksanda
          lifetim e oftraum a.
   Il.    Responsible form aking Lam ictalw hich w as used to slowly poison m e forovera decade.
                                        Reliefsought from the Eourt
   111.   Jacek Kazm ierczak is asking for$3.3 Trillion dollars in dam ages.
